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1
                               UNITED STATES DISTRICT COURT
2                             EASTERN DISTRICT OF WASHINGTON
3
      UNION GOSPEL MISSION OF YAKIMA,
4
      WASH.,
5
                                  Plaintiff,         Civil Case No.: 1:23-cv-03027
6            v.
7    ROBERT FERGUSON, ET AL.,                         DECLARATION OF JAMES JOHNSON
8                                 Defendants.           IN SUPPORT OF PLAINTIFF’S
                                                        MOTION FOR PRELIMINARY
9
                                                               INJUNCTION
10

11

12

13

14           I, James Johnson, hereby state and declare as follows:
15      1.        I am over the age of eighteen and make this declaration on my personal
16
     knowledge.
17
        2.        I am the Chief Executive Officer of the Union Gospel Mission of
18
     Yakima, Wash. (“the Mission”). I have held this position since September 2018.
19

20      3.        Exhibits 1 through 8 to the Verified Complaint (ECF Nos. 1-1, 1-2, 1-3,

21   1-4, 1-5, 1-6, 1-7, and 1-8) are true and accurate copies.
22                        The Mission’s Religious Beliefs and Ministry
23
        4.        The Mission was founded in 1936 to “spread the Gospel of the Lord
24
     Jesus Christ.” Articles of Incorporation of the Union Gospel Mission of Yakima,
25
     Wash., a true and accurate copy filed as ECF No. 1-1.
26

27      5.        The Mission exists to “provide Christ centered rescue, recovery and
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1    restoration to men, women and children in need.” Constitution and Bylaws of the
2    Yakima Union Gospel Mission, a true and accurate copy filed as ECF No. 1-3.
3       6.     The Mission serves the Yakima area through its shelter, meal, and
4    recovery services, its outreach efforts, its health clinics, and through various other

5    programs and services.
6       7.     The Mission exists to follow Christ in helping people move from
7    homelessness to wholeness.

8       8.     The Mission’s beliefs are rooted in the Holy Bible, which the Mission
9    believes “alone is the inspired, infallible, authoritative and final Word of God;
10   constituting unchanging truth for all people across time, place and culture.”

11   Yakima Union Gospel Mission Statement of Faith, a true and accurate copy filed
12   as ECF No. 1-2.
13      9.     The Mission’s religious beliefs guide and permeate everything the

14   Mission does.
15      10.    Every single day, the Mission provides desperately needed lodging, food,
16   and assistance to the hungry and hurting of Yakima, regardless of who they are,

17   what they look like, what they believe, their orientation, or how they identify.
18      11.    Last fiscal year (July 1, 2021–June 30, 2022), the Mission provided a
19   total of 30,167 nights of shelter to 881 different adults and 3,592 nights of shelter

20   for children. During that same period, the Mission also handed out 141,629 free
21   nutritious meals to the public.
22      12.    The Mission also helps people overcome addictions and return to

23   sobriety. The Mission’s New Life Recovery Program is a yearlong sobriety


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1    program that helps restore participants’ physical and spiritual health by
2    restructuring their lives on biblical principles.
3       13.    The Mission offers a Discovery Program where guests can enter into
4    longer term housing where they can build relationships with Mission employees

5    and learn responsibilities before committing to the New Life Program.
6       14.    The Mission’s Bridge Program supplies resources, case management,
7    work experience opportunities, financial guidance, and spiritual and vocational

8    classes to New Life Program graduates as they move on to the next chapter of their
9    lives.
10      15.    All of the recovery programs are based on the Bible and the Mission's

11   religious beliefs.
12      16.    Graduates of the Mission’s faith-based recovery program are four times
13   more likely to stay sober than they would if participating in traditional detox

14   programs.
15      17.    The Mission does not just serve those who come directly to its doors; it
16   actively seeks out opportunities to serve. Nearly every day, its Outreach/Search

17   and Rescue team physically visits different homeless areas of the community. The
18   rescue team feeds, clothes, supplies, and develops relationships with the homeless;
19   invites them into safe shelter; and strives to help transform their lives by sharing

20   the Gospel.
21      18.    The Mission performs these acts of service because its Christian beliefs
22   instruct it to care for the homeless, hungry, sick, and impoverished.

23      19.    The Mission’s religious beliefs also require it to share the Gospel of Jesus


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1    Christ to everyone it encounters.
2       20.    It does so throughout its various programs and services, using every
3    opportunity to spread the Gospel and to teach others about Christ.
4       21.    And the Mission accomplishes this goal through its employees, who are

5    expected to participate in this evangelism and be an example to others of what it
6    means to be a Christian and how to strive to properly represent Christ.
7       22.    The Mission’s religious beliefs also teach that Christians should disciple

8    and encourage one another in their faith and engage in personal fellowship. This
9    means followers of Christ should be an example to others of how to live a
10   Christian life, should help other Christians grow in their faith, should pray for each

11   other, and should “stir up one another to love and good works.” Hebrews 10:24–25
12   (ESV).
13      23.    So the Mission believes it must maintain an internal community of shared

14   faith to facilitate this Christian fellowship, mentoring, and discipleship.
15      24.    To help facilitate this fellowship, mentoring, and discipleship, employees
16   attend daily corporate prayer and weekly chapel services; team members are

17   encouraged and expected to pray for one another and share devotionals; and the
18   Mission routinely hosts worship services and sermons.
19      25.    The Mission also holds beliefs about marriage and sexuality, as stated in

20   the Bible.
21      26.    The Mission believes “God created humans in His image” and “He made
22   humanity expressed in two complementary and immutable sexes, male and female,

23   each displaying features of His nature.” The Mission further believes, “[f]or their


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1    joy and well-being, God commanded human sexual expression to be completely
2    contained within the marriage of one man to one woman.” Yakima Union Gospel
3    Mission Statement of Faith, a true and accurate copy filed as ECF No. 1-2.
4       27.    Because the Mission believes the only proper form of sexual expression

5    is between one man and one woman in the context of marriage, it believes all other
6    sexual expression is immoral and sin.
7       28.    The Mission expresses all of its beliefs—including these beliefs on

8    marriage and sexuality—to everyone.
9       29.    To convey a clear and consistent message to its staff and to the world, the
10   Mission requires all employees to embrace and follow its beliefs, and it therefore

11   prohibits them from engaging in sexually immoral conduct.
12      30.    The Mission believes that holding fellow believers accountable in their
13   Christian lives is a necessary component of discipleship and is a way to express

14   true love for each other.
15                           The Mission’s Coreligionist Hiring
16      31.    Because the Mission is a Christian organization, it depends on its

17   employees to be its hands, feet, and mouthpiece.
18      32.    All employees are thus representatives and agents of the Mission for
19   purposes of advancing its religious mission and expressing its beliefs.

20      33.    The Mission employs more than 150 likeminded believers to fulfill its
21   religious purpose.
22      34.    So the Mission only employs coreligionists—those who both agree with

23   the Mission’s Christian beliefs and practices (internally) and who align their


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1    conduct with those beliefs (externally).
2       35.       The Mission will not employ someone who actively engages in any
3    behavior contrary to its religious beliefs. This includes sexually immoral conduct,
4    such as homosexual behavior.

5       36.       Potential applicants are informed both before and during the application
6    process that the Mission is a Christian organization that expects all employees to
7    agree with and live out the Mission’s religious beliefs.

8       37.       The Mission’s employment webpage encourages them to apply only if
9    they “are motivated by love, faith in Christ, and a calling to do the work of helping
10   those in great need in our community. YUGM, Employment Webpage, a true and

11   accurate copy attached as Exhibit 1 to this Declaration (also available at
12   https://yugm.org/employment/).
13      38.       Each job description similarly informs applicants that every position is

14   part of the Mission’s religious calling and therefore must be a Christ-like example
15   to others.
16      39.       The Mission’s employment application asks candidates to describe their

17   relationship with Christ, their beliefs about the Bible, and whether they agree
18   “without reservation” to the Mission’s Statement of Faith.
19      40.       If a job offer is extended, applicants must then sign and agree to comply

20   with the Mission’s Statement of Faith, core values, job description duties and
21   requirements, and employee handbook. See Christian Purposes Acknowledgement,
22   a true and accurate copy filed as ECF No. 1-4.

23      41.       Every year, the Mission receives numerous applications that profess


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1    disagreement with—and at times open hostility to—its religious beliefs,
2    particularly those about marriage and sexuality. See, e.g., Ver. Compl. ¶¶ 82–83.
3       42.    The Mission screens out these applications so that only coreligionists
4    advance in the interviewing process.

5       43.    This allows the Mission to maintain a community of unified believers,
6    helping to ensure: (a) that employees perform their jobs with a Christ-centered
7    focus; (b) that employees are able and willing to evangelize and share the Gospel;

8    (c) that employees engage in Christian fellowship and discipleship; and (d) that
9    employees and guests are shielded from sinful habits, behaviors, and temptations—
10   which is critical to the Mission’s message and to the success of the Mission’s

11   recovery programs.
12      44.    Hiring only coreligionists also guards against the risk of sending mixed
13   or contradictory messages about the Gospel of Jesus Christ to those the Mission

14   yearns to reach.
15            The State Enforces the WLAD Against Religious Organizations
16      45.    In May 2022, Seattle Pacific University—a private Christian university—

17   decided to retain its employee lifestyle expectation policy regarding sexual
18   conduct. See SPU Board of Trustees Reaches Decision on Employee Lifestyle
19   Expectations, Seattle Pacific University (May 23, 2022), https://perma.cc/GVP9-

20   NZZ8.
21      46.     Seattle Pacific University’s policy is similar to the Mission’s in that it
22   expects employees “to affirm SPU’s Statement of Faith and to abide by conduct

23   standards in the Employee Handbook, including the Employee Lifestyle


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1    Expectations, which states in part that employees are expected to refrain from
2    sexual behavior that is inconsistent with the University’s understanding of Biblical
3    standards, including cohabitation, extramarital sexual activity, and same-sex sexual
4    activity.” FAQs on SPU Board Decision, Seattle Pacific University (May 23,

5    2022), https://perma.cc/RJ9D-YYWY.
6       47.   After the Washington Supreme Court decided Woods v. Seattle’s Union
7    Gospel Mission, 197 Wash. 2d 231, 241–52 (2021), cert. denied, 142 S. Ct. 1094

8    (2022), I learned that the Washington Attorney General began investigating Seattle
9    Pacific University because the University’s policy prohibits employees from
10   engaging in sexual intimacy outside of marriage between one man and one woman.

11      48.   This investigation was very concerning to me because the Washington
12   Attorney General explained that he viewed Seattle Pacific University’s employee
13   policy as “permit[ting] or requir[ing] discrimination on the basis of sexual

14   orientation, including by prohibiting same-sex marriage and activity.” Attorney
15   General’s June 8, 2022 Letter to Seattle Pacific University, a true and accurate
16   copy filed as ECF No. 1-5.

17      49.   Seattle Pacific University’s policy is substantially equivalent to the
18   Mission’s requirement that all of its employees agree with and live according to the
19   Mission’s religious beliefs, including its beliefs on marriage and sexuality.

20      50.   And like Seattle Pacific University, the Mission prohibits its employees
21   from engaging in sexual conduct outside of biblical marriage.
22      51.   The Washington Attorney General—and the State Human Rights

23   Commission—therefore view Seattle Pacific University’s code of conduct, and the


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1    Mission’s similar requirements about marriage and sexuality, as discrimination
2    under the Washington Law Against Discrimination (“the WLAD”).
3                        The WLAD is Currently Harming the Mission
4       52.       The Mission employs both ministerial employees (those protected by the

5    ministerial exception) and non-ministerial employees (those not protected by the
6    ministerial exception).
7       53.       The Mission has current openings for an IT technician and an operations

8    assistant.
9       54.       The IT technician ensures employees’ IT needs are met and is the first
10   point of contact when an issue arises from end users. Some of the IT technician’s

11   direct duties include configuring and troubleshooting endpoint devices like
12   computers, printers, cameras, phones, and registers; offering expertise to other
13   employees on hardware and software; running and terminating voltage cables; and

14   creating keycards and operating the access control system. See Yakima Union
15   Gospel Mission IT Technician Job Description, a true and accurate copy filed as
16   ECF No. 1-6.

17      55.       The operations assistant is responsible for assisting the Director of
18   Operations in all aspects of operations activities. The operations assistants’ direct
19   duties include assisting in the preparation of monthly activity reports; running

20   errands and acquiring supplies as needed; performing administrative tasks; and
21   helping to keep operations projects updated and on track. See Yakima Union
22   Gospel Mission Operations Assistant Job Description, a true and accurate copy

23   filed as ECF No. 1-7.


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1       56.    Both positions are not official clergy and are primarily tasked with job
2    duties of an “inward” nature—i.e., they mostly interact with fellow Mission
3    employees. For instance, the IT technician primarily works hand-in-hand with
4    other employees by assisting them with their software, hardware, and technology

5    needs.
6       57.    As such, both of these positions are not ministerial positions and
7    therefore not protected by the ministerial exception.

8       58.    The Mission intends to fill these positions with coreligionists—as it does
9    for every position—because all employees must properly represent Christ, engage
10   in discipleship, and advance the Mission’s Christian calling.

11      59.    It is vital that these employees (and all employees) be coreligionists not
12   only to advance the Mission’s external religious goals, but also to ensure the
13   Mission remains a faith-based internal community, where the Mission can “be

14   united in the same mind and the same judgment.” I Corinthians 1:10 (ESV).
15      60.    So these positions are expected (as with all employees) to improve the
16   reputation of Christ by personal interactions with others and to set a godly example

17   for staff and clients. See ECF Nos. 1-6, 1-7.
18      61.    To illustrate the importance of having coreligionist employees, consider
19   if an IT issue were to occur. Perhaps an employee’s email is not working due to

20   user error, disrupting their very ability to perform their job. The IT technician steps
21   in. A coreligionist IT technician would be expected to assist that individual in a
22   loving, Christ-like manner, not with foul language, impatience, or insensitivity.

23   Take another example. A coreligionist IT technician would better understand (than


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1    a secular IT technician) how the misuse of technology—perhaps, for example,
2    employees visiting questionable websites—could damage the Mission’s religious
3    message or its reputation as a Christian ministry.
4       62.       Similarly, the operations assistant works with various Mission directors,

5    managers, and employees to keep projects and events on track. See ECF No. 1-7. A
6    coreligionist operations assistant would have a strong understanding of scripture
7    and Christian values thereby ensuring those projects and events effectively

8    advance the Mission’s religious purpose, whereas a secular operations assistant
9    would lack that understanding.
10      63.       Both positions must also be able to offer scriptural encouragement,

11   prayer, or whatever is needed at the moment to other employees. They are to
12   reflect biblical speech, a holy attitude, and an ever-growing knowledge of
13   scripture.

14      64.       But because the IT technician and operations assistant are not ministerial
15   employees, the Mission faces substantial penalties under the WLAD for filling
16   them with coreligionists.

17      65.       The Mission can also face private lawsuits from prospective applicants
18   for these positions if the Mission refuses to hire someone because their beliefs or
19   lifestyle are not aligned with the Mission’s.

20      66.       The Mission will not hire someone—for the IT technician position, the
21   operations assistant position, or any other position—who does not agree with and
22   live a lifestyle according to the Mission’s religious beliefs, including its beliefs on

23   marriage and sexuality.


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1       67.    The Mission has already received applications that express disagreement
2    with, and even hostility to, the Mission’s religious beliefs. It has received such
3    applications for its IT technician position. See, e.g., Ver. Compl. ¶¶ 82–83.
4       68.    To guard against the threatened fines and penalties for hiring only

5    coreligionists under the WLAD, the Mission has removed its IT technician posting
6    from its website and has refrained from posting its operations assistant position,
7    which recently became open.

8       69.    The Mission stopped using Indeed.com to advertise open positions
9    because, shortly after the State began investigating Seattle Pacific University, the
10   Mission faced an increased risk of WLAD enforcement after its religious hiring

11   requirements were publicly criticized and on a nationally read website. See Shira
12   Li Bartov, Strange Thrift Store Application Asks About Beliefs on Bible,
13   Homosexuality, NEWSWEEK (Aug. 31, 2022), a true and accurate copy attached as

14   Exhibit 2 to this Declaration (available at https://perma.cc/WG2A-XGBE).
15      70.    The Reddit post that prompted the Newsweek article contained numerous
16   comments from users that additionally placed the Mission under an imminent

17   threat of WLAD enforcement. See Questions on an Indeed application for a Thrift
18   Shop, Reddit, a true and accurate copy attached as Exhibit 3 (available at
19   https://perma.cc/3K87-CF7D).

20      71.    Speaking about the Mission’s employment application, one user said to
21   “report [the Mission] to every labor board in your immediate area for incredibly
22   illegal interview/application questions.” Another asked for a hyperlink so he/she

23   could apply and give the Mission a “good theological thrashing.” And multiple


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1    users requested the application link so they could “apply”—one even asked so
2    he/she could apply “87 times” and to “see how batshit I can make the answers.” Id.
3       72.    The Mission has also been threatened with physical harm to its thrift
4    stores for hiring only coreligionists.

5       73.    In an effort to be more transparent with and to further notify potential
6    applicants of its need to hire likeminded people of faith, the Mission has adopted a
7    Religious Hiring Statement that it intends to publish on its website. See Religious

8    Hiring Statement, a true and accurate copy filed as ECF No. 1-8.
9       74.    But the Mission cannot publish the Statement because the WLAD’s
10   publication ban prohibits the Mission from expressing its message that employees

11   must agree with and follow its beliefs about marriage and sexuality.
12      75.    The Mission faces WLAD investigations and liability for declining to
13   hire individuals who do not agree with, or live according to, its religious beliefs on

14   marriage and sexuality.
15      76.    But the Mission cannot further its religious calling and purpose, spread
16   its religious message, or maintain an internal community of people of the same

17   faith to facilitate spiritual growth and maturity if it cannot hire only coreligionists.
18      77.    The Mission is thus under an imminent threat of the State enforcing the
19   WLAD against it, as evidenced in part by the State’s enforcement of the WLAD

20   against Seattle Pacific University for having a similar employee code of conduct.
21      78.    The State’s active enforcement of the WLAD against religious
22   organizations is thus forcing the Mission to decide between (a) following its

23   sincerely held religious calling or (b) foregoing those beliefs to comply with the


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1    WLAD to avoid punishment.
2       79.    Every day, the WLAD and the State’s enforcement of the WLAD forces
3    the Mission to pick between its religious mission or complying with state law to
4    avoid fines and penalties.

5       80.    Indeed, because of this threat, the Mission has chilled its own religious
6    activity by pausing hiring for its IT technician and operations assistant, and has
7    chilled its own speech by pulling those postings down and not publishing its

8    Religious Hiring Statement.
9       81.    The Mission is therefore also being harmed by not being able to fill its IT
10   technician and operations assistant positions, which it needs to do to further its

11   operations and advance its religious mission.
12      82.    The Mission desperately needs to fill its open IT technician position as
13   soon as possible. Being unable to do so because of the threat of the WLAD is

14   currently affecting the Mission’s day-to-day operations. Should an injunction be
15   issued protecting the Mission, I would seek to fill the position immediately.
16      83.    Likewise, the Mission needs to hire an operations assistant before the

17   start of its next fiscal year, which begins on July 1, 2023.
18      84.    This harm is ongoing.
19      85.    The Mission needs injunctive relief to prevent the ongoing harm and

20   threat of imminent WLAD enforcement.
21
22
23


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